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                                                EXHIBIT 1


                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

       THE ESTATE OF ANDREA                          *
       S. PARHAMOVICH, et al.,                       *
                                                     *
              Plaintiffs,                            *
                                                     *
                     v.                              *                 Case No. 1:17-cv-0061(KBJ)
                                                     *
       ISLAMIC REPUBLIC OF IRAN, et al.,             *
                                                     *
              Defendants.                            *

       ******************************************************************************

        DECLARATION OF VICKI L. PARHAMOVICH AS PERSONAL REPRESENTATIVE
                    OF THE ESTATE OF ANDREA S. PARHAMOVICH

       I, VICKI L. PARHAMOVICH, being competent to testify to the facts stated herein, and

       pursuant to 28 U.S.C.§1746, hereby declare as follows:

              1.      I am a U.S. citizen over 18 years of age. I am the mother of Andrea S.

       Parhamovich, who was killed in Baghdad, Iraq on January 17, 2007.

              2.      I am the personal representative of the Estate of Andrea S. Parhamovich (“the

       Estate”). Letters of authority issued by the Probate Court of Lake County, Ohio appointing me

       administrator of the Estate are attached hereto as Exhibit 1.

              3.      I am a plaintiff in this action on my own behalf as an immediate family member

       of Andrea S. Parhamovich and as the personal representative of the Estate. I submit this

       declaration as the personal representative of the Estate. This declaration is based on my personal

       knowledge as Andrea’s mother and from conversations with other members of our family.




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               4.      Andrea Suzanne Parhamovich was born on June 16, 1978 in Marietta, Ohio and

       was at all times throughout her life a United States citizen. A true and correct copy of Andrea’s

       birth certificate is attached hereto as Exhibit 2.

               5.      Andrea was also known as “Andi” to her family and friends.

               6.      Andi graduated from Perry High School in Perry, Ohio in 1996.

               7.      In 2000, Andi graduated from Marietta College, a private liberal arts college in

       Ohio, with a major in advertising and public relations and a minor in journalism. While a

       student, she worked in the college’s media relations office.

               8.      After college, Andi moved to Massachusetts and worked in Boston from 2000-

       2003.

               9.      She worked with a public relations firm in Massachusetts from 2000-2001.

               10.     Andi then worked as a speechwriter for the Governor of Massachusetts and as a

       communications aid for the Massachusetts Department of Economic Development.

               11.     Andi then worked with Mass Insite, a public policy institute in Boston.

               12.     She also worked for PAN Communications, a marketing and public relations firm

       in Boston.

               13.     Andi moved to New York City in 2003.

               14.     While in New York, Andi worked in Miramax Film’s publicity department.

               15.     She then worked in the public relations department of Air America Radio, where

       she received a salary of $85,000.

               16.     While working at Air America, Andi began thinking about joining a presidential

       campaign. She decided to work abroad to get foreign policy experience that would help her get a

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       job with a presidential campaign.       She applied for jobs with the International Republican

       Institute (IRI) and the National Democratic Institute (NDI).

              17.     Andi worked for IRI in Baghdad, Iraq from September 2006 to November 2006,

       in media development. She worked with Iraqi leaders and the Iraqi parliament to set up a public

       affairs office, with the larger goal of helping Iraq to establish a free and independent press.

              18.     She then worked as a communications strategist for NDI in Baghdad, Iraq from

       December 2006 until her death in January 2007, teaching classes in democracy to Iraqi political

       parties and parliamentarians, and helping them to develop outreach to voters and constituents.

              19.     Andi received a Commendation from the Republic of Iraq Council of

       Representatives on December 3, 2006. A true and correct copy is attached hereto as Exhibit 3.

              20.     Andi was killed on January 17, 2007 in an ambush on her vehicle convoy by al-

       Qaeda in Iraq/Islamic State in Iraq terrorists. She was returning to the NDI compound from a

       meeting with the Iraqi Islamic Party when her vehicle came under attack by a group of insurgents

       armed with machine guns, pistols, and grenades.

              21.     Three private security contractors from the Unity Resources Group (URG) were

       also killed in the attack, and two were injured.

              22.     On January 21, 2007 the U.S. Army Criminal Investigation Command (CID)

       conducted a crime scene verification and collected evidence. A copy of the report was provided

       to me. A true and correct copy is attached hereto as Exhibit 4, U.S. Army Criminal Investigation

       Command (CID) Report.




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              23.     A military ceremony was held at the Baghdad Airport as Andi’s casket was

       loaded onto a C-130 U.S. military transport aircraft. Andi’s remains were flown to Dover Air

       Force Base in Delaware.

              24.     Stephen L. Robinson, the Deputy Medical Examiner at Dover Air Force Base,

       performed an autopsy on January 23, 2007 and completed a Final Autopsy Examination Report.

       At my request, a copy of the report was provided to counsel. A true and correct copy of the Final

       Autopsy Examination Report and documentary photographs, dated February 6, 2007, is attached

       hereto as Exhibit 5.

              25.     A Certificate of Death (Overseas) was issued on February 8, 2007 by Deputy

       Medical Examiner Stephen L. Robinson. The certificate of death was provided to me. A true and

       correct copy of the Certificate of Death is attached hereto as Exhibit 6.

              26.     FBI’s Office for Victim Assistance sent me a letter dated February 8, 2007,

       offering their assistance. A true and correct copy of the letter is attached hereto as Exhibit 7.

              27.     The Vice Consul sent me a letter dated April 28, 2007 enclosing copies of the

       Report of Death of an American Citizen issued by the U.S. Department of State. True and

       correct copies of the letter and Report of Death are attached hereto as Exhibit 8. Letter from Vice

       Consul and Report of Death of an American Citizen Abroad, Andrea Parhamovich, dated April 28, 2007

              28.     Ambassador Zalmay Khalilzad, the U.S. Ambassador to Iraq, issued a statement

       on January 17, 2007 condemning the attack on Andi’s convoy. A true and correct copy of the

       statement is attached hereto as Exhibit 9.

              29.     The Deputy Prime Minister of Iraq, Barham A. Salih, sent a letter of condolence

       to Secretary Madeleine K. Albright, the Chairman of NDI, dated January 22, 2007. A copy of

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       the letter was forwarded to me. A true and correct copy of the letter is attached hereto as Exhibit

       10.

              30.     Muhammad Abubakr Ahmad, General Director of Communications, Iraqi Council

       of Representatives, send a letter of condolence to our family, dated January 22, 2007. A true and

       correct copy of the letter is attached hereto as Exhibit 11.

              31.     NDI released a statement about Andi’s death. A true and correct copy of the

       statement is attached hereto as Exhibit 12.

              32.     IRI released a statement about Andi’s death January 23, 2007. A true and correct

       copy of the statement is attached hereto as Exhibit 13.

              33.     Senator Ted Kennedy recognized Andi and offered his condolences from the floor

       of the Senate. Senator Kennedy (MA). Deaths in Iraq. Congressional record (January 18, 2007)

       p. s751. A true and correct copy is attached hereto as Exhibit 14.

              34.     The Vermont General Assembly passed a resolution in memory of Andi. Act of

       the General Assembly No. R-95. House Concurrent Resolution in Memory of Andrea

       Parhamovich (H.C.R. 65). Vermont General Assembly. A true and correct copy is attached

       hereto as Exhibit 15.

              35.     The executive head of the United Nations Democracy Fund, Magdy Martinez-

       Soliman, honored Andi in a message of condolence to NDI’s President. NDI Democracy Worker

       Killed in Baghdad (Press release). January 19, 2007.           United Nations Democracy Fund

       (UNDEF). A true and correct copy is attached hereto as Exhibit 16.

              36.     Unity Resources Group (URG) completed a Report on Incident Facts, Attack on

       NDI Red Team, 17 January 2007 and Annex C, Detailed Sequence of Events (Feb 21, 2007). A

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       copy was provided to me. A true and correct copy of the Report and Annex C is attached hereto

       as Exhibit 17. Annex D, “Schematics of the Incident,” was not provided to me.

              37.     The Victim Services Coordinator with the Terrorism and Special Jurisdiction

       Unit, FBI-Victim Services Division, sent a letter to our family dated May 6, 2019 that stated that

       the FBI is currently investigating Andi’s death as a counterterrorism matter. A true and correct

       copy of the letter is attached hereto as Exhibit 18.

              38.     Newspaper articles published soon after Andi’s death describing her life and the

       attack in Baghdad are attached hereto as Exhibits 19 – 22. Christopher Maag, A U.S. Civilian in

       Baghdad: Standing Out, Even in Death, NEW YORK TIMES, January 19, 2007; Mark Tuscano,

       Family wants time to heal, NEWS HERALD, January 20, 2007; David S. Glasier, Andi’s Journey,

       NEWS HERALD, January 29, 2007; Louise Roug, Activist slain in Iraq ‘was an idealist’. LA TIMES,

       January 19, 2007.

              39.     At the time of her death, Andi had just become engaged to Michael Hastings, a

       Newsweek reporter. Andi had emailed Michael her ring size and they had hoped to be able to

       travel to Paris in February so Michael could formally propose on Valentine’s Day. Andi had

       been planning to marry Michael within a year of their engagement. Andi had always planned to

       have two children.

              40.     The Washington Post published an article on January 19, 2007 about their

       engagement, and reported that they were planning to formalize the engagement with a ring. Kim

       Gamel, American Killed in Iraq Was Set to Marry, WASHINGTON POST, January 19, 2007.

       A true and correct copy of the article is attached hereto as Exhibit 23.



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                  41.    Andrea's fiance Michael Hastings died in a car crash in California on June 18,

            2013. A true and correct copy of a New York Times article about Michael's death is attached

            hereto as Exhibit V. Margalit Fox, Michael Hastings, 33, Winner of Polk Award, Dies, NEW

            YORK TIMES, June 19 2013.

                  42.    Andrea enjoyed her work in the communications field and would have remained

           in that industry. She was especially interested in working in communications for political

           campaigns and in the government. Andrea's ideal job would have been to work in the White

           House as a senior communications director. Alternatively, she would have worked for a non­

           profit overseas, doing communications work.


           I declare under penalty of perjury that the foregoing is true and correct.




                             ---- Signature:
           Executed on date:6/18/2020




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      APPENDIX A - PHOTOS




                                                          Andi Parhamovich




                                                        Andi and her best friend, Jamie Horn




                                                         Andi and her fiancé, Michael Hastings




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                                                         Andi in her trailer in Baghdad’s Green Zone
                                                         while working for IRI, 2006.




                                                                     Military ceremony for Andi
                                                                     and the Hungarian vehicle
                                                                     commander who was killed in
                                                                     the same vehicle. Baghdad
                                                                     Airport, January 21, 2007.




                                                                U.S. Ambassador to Iraq Zalmay
                                                                Khalilzad, center, speaks next to the
                                                                two caskets in the cargo bay of the
                                                                C-130 military plane. Baghdad
                                                                Airport, January 21, 2007.




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          Andi’s fiancé Michael Hastings speaking over her casket in the cargo bay of the
          C-130 military plane. Baghdad Airport, January 21, 2007.




          At Andi’s funeral, the wooden urn containing her ashes, surrounded by her nieces’ artwork
          and family photos. Perry, Ohio, February 1, 2007.
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